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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                            Newport News Division


   JOHNNY LEE CHAVIS,


                       Petitioner,
                                                   Criminal No. 4:12cr47
   V.                                                 Civil No. 4:20cvl29


   UNITED STATES OF AMERICA,


                       Respondent



                              OPINION AND ORDER


         This matter is before the Court on a pro se Motion to Vacate,

   Set Aside, or Correct Sentence filed by Petitioner Johnny Lee

   Chavis ("Petitioner") pursuant to 28 U.S.C. § 2255.          ECF No. 328.

   For the reasons stated below. Petitioner's motion is DISMISSED as

   untimely

                               I. BACKGROUND


         On August 15, 2012, a grand jury returned a multi-count

   indictment against Petitioner and seven co-defendants.            ECF No.

   43.    The indictment charged Petitioner with three counts: (1)

   conspiring to distribute and possess with intent to distribute one

   kilogram or more of heroin, in violation of 21 U.S.C. §§ 846,

   841(a)(1),    and    841(b)(1)(A);    (2)   possessing   with   intent   to

   distribute heroin, in violation of 21 U.S.C. § 841(a)(1) and

   (b)(1)(C); and (3) possessing a firearm as a felon, in violation

   of 18 U.S.C. § 922(g)(1).         ECF No. 43, at 2, 7-8.
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